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                                   8                               UNITED STATES DISTRICT COURT

                                   9                              NORTHERN DISTRICT OF CALIFORNIA

                                  10
                                       APPLE INC.,
                                  11                                              Case No. 11-CV-01846-LHK
                                                     Plaintiff,
                                  12
Northern District of California




                                             v.                                   JURY VERDICT
 United States District Court




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                                                                                  (Signed by Jury Foreperson on 5/24/2018)
                                       SAMSUNG ELECTRONICS CO. LTD,
                                  14   et al.,
                                  15                 Defendants.

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